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                       UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF FLORIDA
                             TAMPA DIVISION

  M.H. and J.H., on behalf of their
  minor child C.H.,                               Case No. 8:21-cv-00814-VMC-TGW

                                Plaintiffs,

  v.

  OMEGLE.COM LLC,
                              Defendant.

                DEFENDANT’S MOTION TO STAY DISCOVERY
                PENDING DECISION ON MOTION TO DISMISS

       Defendant Omegle.com LLC (“Omegle”) hereby moves to stay discovery

 in this action until resolution of the pending motion to dismiss Plaintiffs’ Second

 Amended Complaint. Omegle submits that good cause exists to temporarily stay

 discovery in this action and, as necessary, adjust the subsequent case deadlines,

 following the Court’s decision on the motion to dismiss.

                                   BACKGROUND

       Plaintiffs initially filed this action in the District of New Jersey. (See Dkt. 1.)

 In November 2020, Omegle moved to dismiss Plaintiffs’ original complaint based

 on a lack of personal jurisdiction over Omegle as well as challenges to the merits

 of Plaintiffs’ claims, including immunity under Section 230 of the

 Communications Decency Act (“CDA 230”). (See Dkts. 10, 17.) The District of

 New Jersey granted the motion solely on the basis of a lack of personal

 jurisdiction over Omegle and the case was transferred to this Court pursuant to

 the stipulation of the parties on April 9, 2021. (See Dkts. 17, 20, 21-22.)


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       On April 16, 2021, the Court directed Plaintiffs to file an amended

 complaint by April 30. (Dkt. 27.) Plaintiffs sought, and were granted, an

 extension to file their amended complaint to May 17, 2021. (Dkt. 36.) Plaintiffs

 filed their first amended complaint—which added new claims and new

 allegations—on May 17. (Dkt. 48.) In light of the significant amendments to

 Plaintiffs’ complaint, Omegle sought, and was granted, a short extension of the

 time to respond to the first amended complaint until June 8, 2021. (Dkt. 53.)

 Omegle filed its motion to dismiss Plaintiffs’ first amended complaint on

 June 8th, again challenging the merits of all of Plaintiffs’ claims under FED. R.

 CIV. P. 12(b)(6), including based on CDA 230 immunity. (Dkts. 61, 74.) On

 September 15, 2021, the Court sua sponte dismissed Plaintiffs’ first amended

 complaint as a shotgun pleading and therefore denied Omegle’s motion to

 dismiss as moot. The Court ordered that Plaintiffs could file a second amended

 complaint by September 29, 2021. (Dkt. 74 at 4.)

       Plaintiffs filed the third version of their complaint – the Second Amended

 Complaint – on September 29, 2021. (Dkt. 75.) On October 13, Omegle timely

 filed a motion to dismiss Plaintiffs’ Second Amended Complaint in its entirety,

 again alleging that Plaintiffs failed to state any claim for relief, including based

 on CDA 230 immunity. (Dkt. 78.) The motion to dismiss was fully briefed as of

 November 15th, when Omegle filed its permitted reply. (See Dkts. 83, 84.)

       In light of the pending motion to dismiss Plaintiffs’ Second Amended

 Complaint, which could potentially dispose of this case in its entirety, on

 October 26, 2021, the parties filed a joint motion requesting a 60-day extension of


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 the remaining case deadlines, including the most immediate deadline at that

 time, the parties’ expert disclosures. (Dkt. 79.) The Court denied the motion that

 same day. (Dkt. 80.) As a result, the parties have each served their expert

 disclosures in accordance with the deadlines set by the Court. (Declaration of

 Stacia N. Lay in Support of Defendant’s Motion to Stay Discovery Pending

 Decision on Motion to Dismiss ¶ 2.) In light of the current case schedule, Omegle

 served initial sets of discovery requests on Plaintiffs on December 7, 2021. As of

 the filing of this Motion, Plaintiffs have not served discovery requests on Omegle

 nor have depositions been noticed (although the parties have begun discussing

 scheduling and procedure). (Lay Decl. ¶ 3.)

                                    DISCUSSION

       “Federal courts have broad discretion to stay proceedings as part of their

 inherent authority to control their docket.” Baker Cty. Med. Servs. Inc. v. Blue Cross

 & Blue Shield of Fla., Inc., No. 3:18-cv-1510-J-20MCR, 2020 U.S. Dist. LEXIS 258612,

 *2 (M.D. Fla. Apr. 30, 2020). Though a stay is not automatic upon the filing of a

 motion to dismiss, the Eleventh Circuit has recognized that resolving such

 dispositive motions prior to discovery can be warranted in circumstances such as

 those existing here. “Facial challenges to the legal sufficiency of a claim or

 defense, such as a motion to dismiss based on failure to state a claim for relief,

 should, however, be resolved before discovery begins. Such a dispute always

 presents a purely legal question; there are no issues of fact because the

 allegations contained in the pleading are presumed to be true.” Chudasama v.

 Mazda Motor Corp., 123 F.3d 1353, 1367 (11th Cir. 1997) (footnote omitted).


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 Discovery imposes significant costs on the parties, regardless of whether a party

 is seeking or responding to discovery. It also imposes burdens on the Court to

 the extent it is necessary to resolve discovery disputes. Id. at 1367-68 (detailing

 the costs on the parties and the burden on the judicial system); see also Landmark

 Equity Fund II, LLC v. Residential Fund 76, LLC, No. 13-20122-CIV-HUNT, 2013

 U.S. Dist. LEXIS 199359, *2 (S.D. Fla. Nov. 21, 2013) (“A stay of discovery

 prevents parties from incurring unnecessary discovery costs in the event the

 dispositive motion is granted.”).

       Generally, the party seeking a stay has the burden of demonstrating good

 cause for, and the reasonableness of, the requested stay. Baker Cty., 2020 U.S.

 Dist. LEXIS 258612 at *3. Good cause and reasonableness have been established

 where the pending motion appears to have merit on a “preliminary peek” and

 may dispose of the action in its entirety, and where there is not likely to be

 significant prejudice to the plaintiff. See, e.g., Baker Cty., 2020 U.S. Dist. LEXIS

 258612 at *4 (granting motion to stay discovery where motion to dismiss

 appeared meritorious and would dispose of plaintiff’s claims and where “no

 exceptional circumstances . . . militate[d] against a stay”); George & Co. LLC v.

 Cardinal Indus., Inc., No. 2:18-cv-154-FtM-38MRM, 2019 U.S. Dist. LEXIS 62898,

 *3-4 (M.D. Fla. Feb. 19, 2019) (granting motion to stay where motion to dismiss

 raised “potentially meritorious challenges” to plaintiff’s fourth amended

 complaint); Ave Maria Univ. v. Sebelius, No. 2:12-cv-88-FtM-99SPC, 2012 U.S. Dist.

 LEXIS 200792, *6 (M.D. Fla. Nov. 28, 2012) (granting stay where grant of motion

 to dismiss was a possibility and stay would not cause plaintiff “any significant


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 harm”). Here, the requested stay of discovery pending decision on Omegle’s

 motion to dismiss Plaintiffs’ Second Amended Complaint in its entirety is both

 reasonable and supported by good cause.

       First, Omegle’s motion to dismiss the third iteration of Plaintiffs’

 complaint is potentially case dispositive. As outlined in that motion, Omegle

 makes meritorious arguments that each of Plaintiffs’ claims – with only one

 possible exception – are barred by CDA 230. (See Dkt. 78 at 11-27.) And with

 respect to the only claim that may not clearly fall within CDA 230 immunity (an

 issue not conceded), the claim under the Video Privacy Protection Act, that claim

 is simply inapplicable to this case, as demonstrated in the motion to dismiss. (See

 Dkt. 78 at 27-31.) Omegle further demonstrated that even absent CDA 230

 immunity, Plaintiffs’ state law claims fail on their merits as a matter of law. (See

 Dkt. 78 at 31-40.) Therefore, Omegle’s motion to dismiss is meritorious.

       Additionally, a number of courts have held that CDA 230 is intended to

 “protect[] websites not only from ‘ultimate liability,’ but also from ‘having to

 fight costly and protracted legal battles.’” Nemet Chevrolet, Ltd. v.

 Consumeraffairs.com, Inc., 591 F.3d 250, 255 (4th Cir. 2009) (quoting Fair Hous.

 Council v. Roommates.com, LLC, 521 F.3d 1157, 1175 (9th Cir. 2008) (en banc)

 (“Roommates.com”)); Fyk v. Facebook, Inc., No. C 18-05159 JSW, 2019 U.S. Dist.

 LEXIS 234960, *3 (N.D. Cal. June 18, 2019) (“The immunity, ‘like other forms of

 immunity, is generally accorded effect at the first logical point in the litigation

 process’ because ‘immunity is an immunity from suit rather than a mere defense

 to liability.’”) (quoting Nemet, 591 F.3d at 254), aff’d, 808 F. App’x 597 (9th Cir.


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 2020), cert. denied, 141 S. Ct. 1067 (2021). See also Roommates.com, 521 F.3d at 1174

 (stating that close cases must be resolved in favor of immunity “lest we cut the

 heart out of section 230 by forcing websites to face death by ten thousand duck-

 bites”).

        Courts in the Eleventh Circuit have granted motions to stay discovery in

 analogous cases involving questions of immunity raised by pending dispositive

 motions. For example, in Cook v. Taylor, the Middle District of Alabama stayed all

 discovery obligations pending a ruling on defendant’s motion to dismiss, which

 raised a number of case-dispositive issues, including the defense of sovereign

 immunity. No. 2:18-CV-977-WKW, 2019 U.S. Dist. LEXIS 42406, *1-2, 4-5 (M.D.

 Ala. Mar. 15, 2019). In so ordering, the court stated that “authorities [of the

 Eleventh Circuit] signal that the court should not allow discovery in the face of a

 pending motion to dismiss that tests the legal sufficiency of the complaint—

 especially when that motion also asserts an immunity defense.” Id. at *4-5. See

 also Howe v. City of Enterprise, 861 F.3d 1300, 1302 (11th Cir. 2017) (discussing

 Eleventh Circuit authority that establishes that “immunity is a right not to be

 subjected to litigation beyond the point at which immunity is asserted”).

        Second, Omegle has acted diligently in seeking to dismiss Plaintiffs’

 complaints in this action and complying with the deadlines set by the Court in

 the absence of extensions or other modifications to the case schedule. In response

 to each version of Plaintiffs’ complaint, Omegle has promptly sought dismissal

 raising, among other purely legal questions, CDA 230 immunity in each of its

 three motions to dismiss. Omegle only sought extensions of the time to respond


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 to Plaintiffs’ complaint in two instances—first, at the outset of the case and

 second, in connection with Plaintiffs’ first amended complaint, which added

 significant new claims and allegations. (See Dkts. 5, 52-53.) Nonetheless, there is

 yet to be a ruling on Omegle’s challenges to the merits of Plaintiffs’ complaint

 and therefore there are no definitive, operative pleadings in this case that would

 necessarily inform the nature and scope of discovery. See FED. R. CIV. P. 26(b)(1)

 (the scope of discovery includes “any nonprivileged matter that is relevant to

 any party’s claim or defense and proportional to the needs of the case”); see also

 Cotton v. Mass. Mut. Life Ins. Co., 402 F.3d 1267, 1292 (11th Cir. 2005) (noting that

 “every claim has the potential to enlarge the scope and cost of discovery” and

 therefore dismissing nonmeritorious claims before discovery can avoid

 “unnecessary costs to the litigants and to the court system”).

       Third, there is no harm to Plaintiffs, much less significant harm, if

 discovery is stayed temporarily until the motion to dismiss is ruled upon and, if

 necessary based on that decision, the remaining case deadlines are adjusted

 accordingly. As of the filing of this Motion, Plaintiffs have served no discovery

 requests on Omegle. Nor have depositions yet been noticed. (Lay Decl. ¶ 3.)

 Courts in the Eleventh Circuit have concluded that a stay of discovery was

 appropriate even in cases where, unlike here, plaintiffs had served discovery.

 See, e.g., George & Co., 2019 U.S. Dist. LEXIS 62898 at *3; Pereira v. Regions Bank,

 No. 6:12-cv-1383-Orl-22TBS, 2012 U.S. Dist. LEXIS 159696, *1-2, 4-5 (M.D. Fla.

 Nov. 7, 2012). Additionally, Omegle requests that, as a necessary component of

 the motion to stay discovery, the subsequent case deadlines be modified to the


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 extent necessary based on the Court’s decision on the pending motion to dismiss.

 Therefore, granting a temporary stay would not prejudice the parties’ ability to

 conduct necessary discovery prior to, for example, the mediation or summary

 judgment motion deadlines, if appropriate after the Court’s decision on the

 motion to dismiss.

       In contrast, Omegle has incurred, and will continue to incur, significant

 costs in connection with discovery despite the pending motion to dismiss

 Plaintiffs’ Second Amended Complaint in its entirety. For example, Omegle has

 incurred the significant expense of retaining and disclosing several experts in

 response to the experts disclosed by Plaintiffs. Omegle has also prepared and

 served initial sets of discovery requests on Plaintiffs in order to ensure it

 complies with the current discovery deadline. (Lay Decl. ¶¶ 2-3.) The costs of

 discovery for all parties will only continue to mount in the absence of a stay, all

 while there is no resolution of Omegle’s preliminary challenge to the sufficiency

 of Plaintiffs’ claims in this action and in the absence of operative pleadings.

       Therefore, Omegle’s request for a motion to stay discovery – and

 adjustment of the subsequent case deadlines as necessary – pending decision on

 Omegle’s motion to dismiss is amply supported by good cause and is reasonable.

                                   CONCLUSION

       Staying discovery pending resolution of Omegle’s third motion to dismiss

 is a reasonable means for avoiding further unnecessary costs of the parties and

 advancing judicial efficiency. Omegle’s motion to dismiss may be case

 dispositive and raises an issue of immunity that should be resolved prior to


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 substantial litigation of Plaintiffs’ claims. Moreover, until Omegle’s motion to

 dismiss is resolved, there are no operative pleadings in this case, which

 necessarily inform the appropriate and necessary scope of discovery. Nor will

 there be prejudice to Plaintiffs in temporarily staying discovery (and adjusting

 the subsequent deadlines if necessary) until such time as preliminary challenges

 to the merits of their claims are resolved. For all of these reasons, Omegle

 respectfully requests that the Court stay discovery in this case pending decision

 on the motion to dismiss and, as necessary, adjust the remaining case deadlines

 once that decision is entered.

                     LOCAL RULE 3.01(g) CERTIFICATION

       Pursuant to Local Rule 3.01(g), counsel for Defendant Omegle.com LLC

 represents that they have conferred with counsel for Plaintiffs who indicated

 they would not agree to a request to stay discovery. During the conference, the

 parties also discussed in general terms as an alternative, an extension of the

 discovery and mediation deadlines. However, the parties did not reach

 agreement on the relief requested in this Motion. (See Lay Decl. ¶ 4.)

 DATED:     December 16, 2021       Respectfully submitted,

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                           CERTIFICATE OF SERVICE

       I hereby certify that on December 16, 2021, a true and correct copy of the

 foregoing will be served electronically through the Clerk of Court’s CM/ECF

 filing system.


                                               s/ Stacia N. Lay
                                               Stacia N. Lay




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